Case: 4:20-cv-01507-RLW Doc. #: 16 Filed: 01/28/21 Page: 1 of 1 PageID #: 141



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 JOSEPH ENGEL,                                   )
                                                 )
                 Plaintiff,                      )
                                                 )
          V.                                     )         No. 4:20-CV-1507 RLW
                                                 )
 CORIZON MEDICAL, et al., ·                      )
                                                 )
                 Defendants.                     )

                                MEMORANDUM AND ORDER

       This matter is before the Court sua sponte. On January 14, 2021, the Court instructed the

Clerk to process plaintiffs Notice of Appeal in this matter. At that time, plaintiffs amended

complaint was still pending in this matter, awaiting review pursuant to 28 U.S.C. § 1915. Because

the Court lost jurisdiction to review plaintiffs amended complaint at that time, the Court will

administratively close this action until such time as the Eighth Circuit Court of Appeals rules on

plaintiffs appeal.

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk shall administratively close this action until

such time as the Eighth Circuit Court of Appeals rules on plaintiffs appeal of this matter.

       Dated thi~day of January, 2021.




                                                UNITED STATES DISTRICT JUDGE
